Entered: February 29, 2012    Case 12-00023     Doc 9     Filed 02/29/12   Page 1 of 3
Signed: February 28, 2012

SO ORDERED




                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF MARYLAND

                                                          Baltimore Division


                   In re: Clifford and Janet Hoskins,
                                                                               Case No. 11-30308
                                   Debtors.                                    (Chapter 7)

                   GE Money Bank,

                                   Plaintiff,

                   v.                                                          Adv. Proc. No. 12-00023

                   Janet L. Hoskins,

                                   Defendant.

                                                 CONSENT JUDGMENT ORDER

                             THIS MATTER COMES before the Court on the Complaint of Plaintiff, GE Money

                   Bank, to dischargeability of debt pursuant to §523 of the Bankruptcy Code; and

                             IT APPEARING TO THE COURT, upon certification of Plaintiff's counsel, that all

                   necessary parties have endorsed this Order, evidencing their agreement to a resolution of

                   this matter as set forth herein; it is therefore




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       ORDERED that the sum of $4,196.00, due and owing by Janet L. Hoskins to GE

Money Bank, together with costs in the amount of $293.00 be, and hereby is, deemed non-

dischargeable. The non-dischargeable amount may be settled by payment in the amount of

Two Thousand Five Hundred and 00/100 Dollars, said payment to be made by Janet L.

Hoskins no later than March 1, 2012.            Payment is to reference account number

XXXXXXXX-9819, and should be mailed to The Fitzpatrick Law Office, P.C., 4118

Leonard Drive, Suite 200, Fairfax, Virginia 22030. In the event Janet L. Hoskins fails to

make said payment within ten (10) days of its due date, GE Money Bank, with written

notice to Janet L. Hoskins allowing ten days to cure such default, may exercise its rights

available under state law (including claims for attorney's fees and interest) to collect the

full non-dischargeable amount, as set forth above.

WE ASK FOR THIS:

KEVIN M. FITZPATRICK
4118 Leonard Drive, Suite 200
Fairfax, Virginia 22030
(703) 352 7150


By:    ___/s/ Kevin M. Fitzpatrick_____
       Kevin M. Fitzpatrick
       Counsel for GE Money Bank

SEEN AND AGREED:


____/s/ Daniel Scott Rosefelt_______
Daniel Scott Rosefelt
Rosfelt Law Firm, PA
7315 Wisconsin Ave
Suite 925
Bethesda, MD 20814
Counsel for Janet L. Hoskins

                          CERTIFICATE OF ENDORSEMENT

       This is to certify that all parties to Plaintiff GE Money Bank’s Complaint Objecting to



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Discharge of Debt have endorsed the Consent Order attached hereto, and that the terms of

the copy of the Order submitted to the Court are identical to those set forth in the original

Order; and that the signatures represented by the /s/             on this copy reference the

signatures of parties on the original Order.

                                                   ___/s/ Kevin M. Fitzpatrick_____
                                                           Kevin M. Fitzpatrick

cc:    All Parties

                                       END OF ORDER




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